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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:23-md-3076-KMM

  In RE

  FTX CRYPTOCURRENCY EXCHANGE
  COLLAPSE LITIGATION
                                                    /

                                                ORDER

          THIS CAUSE comes upon the initial conference in the above captioned matter. UPON

  CONSIDERATION of the pertinent portions of the record, and being otherwise fully advised in

  the premises, it is hereby ORDERED AND ADJUDGED that:

  I.      PRETRIAL CONSOLIDATION

          Any other actions filed, whether filed directly in the United States District Court for the

  Southern District of Florida or in any other United States District Court (whether by original filing

  or removal), that are related to this litigation (that is, civil actions seeking damages arising from

  the collapse of the FTX Cryptocurrency Exchange) are hereby consolidated into one action (the

  “Consolidated Action”) for all pre-trial purposes pursuant to Rule 42 of the Federal Rules of Civil

  Procedure. Counsel shall familiarize themselves with the District’s Local Rules.

          This Order shall govern all cases (1) transferred to this Court by the Judicial Panel on

  Multidistrict Litigation, pursuant to its Order of June 5, 2023; (2) any tag-along actions

  subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation; and (3) all

  related cases originally filed in this Court or transferred or removed to this Court. This Order shall

  also apply to related cases later filed in, removed to, or transferred to this Court.




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         All subsequent Orders of this Court with the designation “All Actions” entered in MDL-

  3076 shall likewise apply to all cases that are or become part of this MDL, regardless of whether

  that case was part of MDL-3076 when the Order was entered.

  II.    CASE IDENTIFICATION

         The purpose of the following instructions is to reduce the time and expense of duplicate

  filings of documents through the use of a master case, while at the same time not congesting the

  master case with miscellaneous papers and orders that are of interest only to the parties directly

  affected by them.

         a. Master Docket and Record

         For the convenience of the parties and the Court, the Clerk will maintain a master docket with

  a single docket number and master record under the style: “In re FTX Cryptocurrency Exchange

  Collapse Litigation,” Case No. 23-md-03076-KMM. When a document is filed and docketed in

  the master case, it shall be deemed filed and docketed in each individual case to the extent

  applicable and will not ordinarily be separately docketed or physically filed in any individual cases.

  However, the caption may also contain a notation indicating whether the document relates to all

  cases or only to specified cases, as described below.

         b. Caption

         All Orders, papers, motions and other documents served or filed in this Consolidated

  Action shall bear the same caption as this Order.

         If the document(s) is generally applicable to all consolidated actions, the caption shall

  include the notation: “This Document Relates to All Actions,” and the Clerk will file and docket

  the document(s) only in the master case. However, if a document is intended to apply only to

  particular amended complaints, the caption shall include the notation “This Document Relates to



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  [the amended complaint (s) to which it applies],” and extra copies shall be provided to the Clerk

  to facilitate filing and docketing both in the master case and the specified individual case records.

         The original of this Order shall be filed by the Clerk in each of the FTX Cryptocurrency

  Exchange Collapse actions pending in this Court and a copy thereof shall be filed in each

  subsequently filed or transferred action, which is related to and consolidated with this action for

  pretrial purposes. The Clerk of Court will maintain docket and case files under this caption.

  III.   STATUS CONFERENCES

         Further Status Conferences shall be held as directed by the Court. To aid the Court and the

  Parties in preparing for future conferences, not less than five (5) business days prior to the

  conference, the Parties shall submit a joint agenda that reports on the number of cases in the MDL

  and the number tagged for transfer, that lists all motions that have been fully briefed, and that

  identifies any issue that either or both Parties wish to raise with the Court. The Parties may submit

  at the same time separate statements of their positions on said issues. If the Parties agree that they

  would like the Court to take any action, the joint agenda shall so state. The agenda is intended to

  inform the Court of matters that the Parties desire to raise at the status conference, and the Court

  may amend or augment the agenda as it deems appropriate.

  IV.    ADMISSION OF COUNSEL

         Attorneys admitted to practice and in good standing of the bar of any United States District

  Court will be admitted to practice in this litigation upon the filing of a Notice of Appearance in (1)

  the master case and (2) the particular action(s) in which they seek to appear. As discussed in ECF

  No. 55, the requirements of Rule 4 of the Special Rules Governing the Admission and Practice of

  Attorneys (contained in the Local Rules of the United States District Court for the Southern District

  of Florida) are waived. Attorneys, upon filing of a Notice of Appearance, will be permitted to



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  electronically receive Notices of Electronic Filing provided the Notice of Appearance includes a

  request to receive such Notices and provides an e-mail address for the Attorney. Attorneys

  admitted to practice in this litigation pursuant to this Section are authorized to file documents

  conventionally as this District does not currently have any mechanism allowing for electronic

  filing by attorneys located outside of the Southern District of Florida. The Court waives any pro

  hac vice admission fees associated with this action.

  V.     PENDING MOTIONS DENIED WITHOUT PREJUDICE

         All motions pending at the time of transfer to this Court are DENIED WITHOUT

  PREJUDICE.

  VI.    INITIAL SCHEDULING ORDER

         As discussed in the initial conference, the following initial schedule is so ordered:

             •   All issues related to personal jurisdiction shall be resolved and the Parties shall

                 inform the Court of such resolution within 14 days of the date of this Order;

             •   The Sports and Entertainment Defendants shall file a motion to stay discovery

                 within 21 days of the date of this Order;

             •   All other Defendants shall file any motion to stay discovery within 21 days of being

                 served with discovery;

             •   Plaintiffs shall file consolidated amended complaints within 45 days of the date of

                 this Order;

             •   Thereafter, Defendants shall have 45 days from the filing of the amended

                 complaints to file any responses to the amended complaints;

             •   Plaintiffs’ Proposed Leadership Structure, (ECF No. 59-1), is hereby ADOPTED

                 and INCORPORATED BY REFERENCE in this Order;


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             •   The status conference scheduled for June 27, 2023, is hereby cancelled.



         DONE AND ORDERED in Chambers at Miami, Florida, this 21st
                                                              _____ day of June, 2023.



                                                  K. MICHAEL MOORE
                                                  UNITED STATES DISTRICT JUDGE

  cc: All counsel of record




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